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AO 472 (Rev. 3/86) Order of Detention Pending Trial


                                                      United States District Court
                                                                           DISTRICT OF KANSAS

             UNITED STATES OF AMERICA
                       v.                                                                      ORDER OF DETENTION PENDING TRIAL

                           ANDREW J. PRICE                                                     Case Number: 10-20129-05-KHV-DJW
                                         Defendant

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following facts
require the detention of the defendant pending trial in this case.
                                                           Part I - Findings of Fact
9 (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a (federal offense) (state
      or local offense that would have been a federal offense if a circumstance giving rise to federal jurisdiction had existed) that is
      9 a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
      9 an offense for which the maximum sentence is life imprisonment or death.
      9 an offense for which a maximum term of imprisonment of ten years or more is prescribed in

             9 a felony that was committed after the defendant had been convicted of two or more prior federal offenses described in 18
                    U.S.C. § 3142(f) (1)(A)-(C), or comparable state or local offenses.
9 (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state or local
      offense.
9 (3) A period of not more than five years has elapsed since the (date of conviction) (release of the defendant from imprisonment) for
      the offense described in finding (1).
9 (4) Findings Nos. (1), (2) and (3) establish a rebuttable presumption that no condition or combination of conditions will reasonably
             assure the safety of (an)other person(s) and the community. I further find that the defendant has not rebutted this presumption.
                                                             Alternative Findings (A)
9 (1) There is probable cause to believe that the defendant has committed an offense
      9 for which a maximum term of imprisonment of ten years or more is prescribed in ________________________________
      9 under 18 U.S.C. § 924(c).
9 (2) The defendant has not rebutted the presumption established by finding 1 that no condition or combination of conditions will
             reasonably assure the appearance of the defendant as required and the safety of the community.
                                                           Alternative Findings (B)
9 (1) There is a serious risk that the defendant will not appear.
9 (2) There is a serious risk that the defendant will endanger the safety of another person or the community.



                                          Part II - Written Statement of Reasons for Detention
    I find that the credible testimony and information submitted at the hearing establishes by (clear and convincing evidence) (a
preponderance of the evidence) that

                                                                                   (See attached pages)


                                                   Part III - Directions Regarding Detention
      The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a corrections
facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending appeal. The
defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of the United
States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the defendant to the
United States marshal for the purpose of an appearance in connection with a court proceeding.

Dated: October 27, 2010                                                                        s/ David J. Waxse
                                                                                                             Signature of Judicial Officer

                                                                                               DAVID J. WAXSE, U.S. MAGISTRATE JUDGE
                                                                                                             Name and Title of Judicial Officer

*Insert as applicable: (a) Controlled Substances Act (21 U.S.C. § 801 et seq.); (b) Controlled Substances Import and Export Act (21 U.S.C. § 951 et seq.); or (c) Section 1 of Act of Sept. 15,
1980 (21 U.S.C. § 955a).
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                   Part II - Written Statement of Reasons for Detention

    There are a series of factors I have to consider to determine whether there are conditions that will assure

your appearance as required and the safety of the community.

    The first factor is the nature and circumstances of the offense charged, including whether it involves a

controlled substance. It does, and the conspiracy involves firearms so that is a negative factor.

    The next factor is the weight of the evidence. There has been a Grand Jury determination of probable

cause, so that is negative.

    The next factor is your physical and mental condition. There is nothing that would be a problem, so that

is positive.

    Family ties are positive.

    Employment is somewhat questionable because there are different opinions about whether you really

have employment, so that is neutral.

    The next factor is financial resources. There is no indication that you have known financial resources

that would assist you in fleeing.

    Length of residence in the community is positive.

    Community ties are positive.

    The next factor is past conduct which includes history relating to drug or alcohol abuse, criminal history,

and record concerning appearance at court proceedings. There are no prior convictions, which is positive.

    The next factor is whether at the time of the current offense or arrest the person was on probation, parole

or other release. There is no indication that you were.

    The final factor is the nature and seriousness of the danger to any person in the community that would

be posed by the person’s release. That is the biggest problem because there are grand jury determinations



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that you have been selling crack cocaine within 1,000 feet of a school and that you have been involved in

guns.

   Taking all those factors together, I do not think there are conditions that I have confidence you will

comply with. I think there are conditions that could be set, but the biggest problem is the danger of the

number of times you have allegedly been involved in selling crack, being involved with firearms, and

running from police officers. Those are all factors that do not give me any confidence that I can set

conditions that will be followed.

   For all of those reasons you will remain detained.




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